Case 18-82948-CRJ11   Doc 209 Filed 05/06/19 Entered 05/06/19 11:34:10   Desc
                        Main Document    Page 1 of 13
Case 18-82948-CRJ11   Doc 209 Filed 05/06/19 Entered 05/06/19 11:34:10   Desc
                        Main Document    Page 2 of 13
Case 18-82948-CRJ11   Doc 209 Filed 05/06/19 Entered 05/06/19 11:34:10   Desc
                        Main Document    Page 3 of 13
Case 18-82948-CRJ11   Doc 209 Filed 05/06/19 Entered 05/06/19 11:34:10   Desc
                        Main Document    Page 4 of 13
Case 18-82948-CRJ11   Doc 209 Filed 05/06/19 Entered 05/06/19 11:34:10   Desc
                        Main Document    Page 5 of 13
Case 18-82948-CRJ11   Doc 209 Filed 05/06/19 Entered 05/06/19 11:34:10   Desc
                        Main Document    Page 6 of 13
Case 18-82948-CRJ11   Doc 209 Filed 05/06/19 Entered 05/06/19 11:34:10   Desc
                        Main Document    Page 7 of 13
Case 18-82948-CRJ11   Doc 209 Filed 05/06/19 Entered 05/06/19 11:34:10   Desc
                        Main Document    Page 8 of 13
Case 18-82948-CRJ11   Doc 209 Filed 05/06/19 Entered 05/06/19 11:34:10   Desc
                        Main Document    Page 9 of 13
Case 18-82948-CRJ11   Doc 209 Filed 05/06/19 Entered 05/06/19 11:34:10   Desc
                       Main Document    Page 10 of 13
Case 18-82948-CRJ11   Doc 209 Filed 05/06/19 Entered 05/06/19 11:34:10   Desc
                       Main Document    Page 11 of 13
Case 18-82948-CRJ11   Doc 209 Filed 05/06/19 Entered 05/06/19 11:34:10   Desc
                       Main Document    Page 12 of 13
Case 18-82948-CRJ11   Doc 209 Filed 05/06/19 Entered 05/06/19 11:34:10   Desc
                       Main Document    Page 13 of 13
